       Case 3:94-cr-03012-LC-MD        Document 725          Filed 05/17/05        Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

        VS                                                              CASE NO. 3:94cr3012LAC

MARTIN WILLIAMS

                                 REFERRAL AND ORDER

Referred to Judge Lacey Collier on May 5, 2005 and May 16, 2005
Motion/Pleadings: MOTION FOR RECONSIDERATION IN LIGHT OF UNITED STATES V
REESE, ETC.
Filed by DEFENDANT, PRO SE                 on 4/20/05           Doc.# 722
RESPONSES:
BY GOVERNMENT                              on 5/16/05           Doc.# 724




                                               WILLIAM M. McCOOL, CLERK OF COURT

                                               /s/MaryMaloy-Wells
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy-Wells

                                            ORDER
Upon    consideration     of   the    foregoing,       it   is    ORDERED     this   17 th   day   of
May, 2005, that:
(a) The relief requested is DENIED.
(b)    The   defendant   is    not   entitled     to   resentencing      as   this    Court    lacks
jurisdiction to consider this successive post-conviction motion and the Supreme
Court’s decision in United States v Booker does not apply retroactively to cases
on collateral review.


                                                                 s /L.A. Collier
                                                             LACEY A. COLLIER
                                                       United States District Judge
Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
